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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                            Criminal Action No.
           v.
                                            1:23-CR-047-MHC-JEM
   K RISTOPHER K NEUBUHLER


  Government’s Response in Opposition to Defendant’s Motion to Suppress

   The United States of America, by Ryan K. Buchanan, United States Attorney,
and Theodore S. Hertzberg, Assistant United States Attorney for the Northern
District of Georgia, files this Response in Opposition to Defendant’s Motion to

Suppress Evidence and Fruits Seized Pursuant to the Search of 300 Anchorage
Place, Roswell, GA 30076. The search warrant on 300 Anchorage Place provided
sufficient probable cause to establish a nexus between Defendant Kristopher

Kneubuhler, the residence to be searched, and the possession of child sex abuse
materials (“CSAM”) in violation of federal law. The search warrant was limited
to electronic devices and storage media that could be used to distribute, possess,

or depict child pornography or erotica, was sufficiently particularized, and was
not overbroad. Defendant’s motion should be denied.

1. Factual Background1

   On June 16, 2022, the Internet Watch Foundation informed Coinbase, a
cryptocurrency exchange, that a particular website on the darkweb was selling


   1   The factual background set forth herein is derived from the allegations of
the affidavit in support of the challenged search warrant. (Doc. 31-3).
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access to CSAM in exchange for Bitcoin. (Doc 31-3 at 14, ¶ 22). The darkweb
website indicated a particular “bitcoin address” to which funds should be sent in
order to obtain access. (Id.). Coinbase conducted an investigation, identified an
account that had sent funds to that bitcoin address, and relayed its findings to
Homeland Security Investigations (“HSI”).         (Id. at 14-15, ¶ 23).   HSI then
subpoenaed Coinbase for additional information regarding the account that had
sent funds to the bitcoin address listed on the darkweb website at issue. (Id. at 15,
¶ 24).

   On August 19, 2022, HSI received from Coinbase information revealing that
Defendant Kristopher Kneubuhler was the owner of the account that had sent
funds to the bitcoin address and for which HSI had subpoenaed additional
information.   (Id.).   The information HSI received linking Defendant to the
Coinbase account included Defendant’s home address (300 Anchorage Place,
Roswell, Georgia), an image of Defendant’s driver’s license, and Defendant’s email

address, kris@harmonic-homes.com. (Id.).
   HSI Special Agent (“SA”) Kasey Crump corroborated Defendant’s association
to the identifiers that Coinbase had disclosed. In doing so, SA Crump researched
the “kris@harmonic-homes.com” email address that Coinbase had reported. (Id.
at 16, ¶ 28). SA Crump learned that Harmonic Homes, LLC is a home automation
and security company registered with the State of Georgia and that, according to

information on a state website, that company was located at Defendant’s home at
300 Anchorage Place (which was the same address Coinbase provided for the
holder of the Coinbase account that transacted with the darkweb website) and was

“registered to” Defendant. (Id.).


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   SA Crump also connected Defendant to the 300 Anchorage Place residence
through county records, other documents, and physical surveillance. Specifically,
SA Crump learned through the Fulton County Board of Assessor’s website that
Defendant had owned 300 Anchorage Place since 2017 and that he was the
responsible party for water and sewer services to the property. (Id. at 17, ¶ 30).
Documents SA Crump obtained from a private storage company revealed that
Defendant executed a rental agreement that provided 300 Anchorage Place as his
address and kris@harmonic-homes.com as his email address. (Id. at 16-17, ¶ 29).

And, during physical surveillance in December 2022, SA Crump saw Defendant’s
wife and one of his children enter 300 Anchorage Place from a vehicle registered
at that address to Defendant’s wife. (Id. at 17, ¶ 31).
   In addition to the information identifying Defendant Kneubuhler as the
accountholder for the Coinbase account that transacted with the darkweb website
and associating Defendant with 300 Anchorage Place, Coinbase provided HSI a

transaction history for Defendant’s Coinbase account. (Id. at 15, ¶ 25). That
transaction history reflected the transfer of Bitcoin from Defendant’s account to
the bitcoin address listed on the darkweb website. (Id.).
   Separately, HSI received from the Internet Watch Foundation a screenshot from
the darkweb website listing the bitcoin address to which a person would send
$89.99 in “Bitcoin equivalent” as a prerequisite to logging into the darkweb

website and obtaining more CSAM. (Id. at 15-16, ¶ 26). Using an undercover
computer in December 2022, SA Crump navigated to the darkweb website herself
and observed that it remained active. (Id. at 16, ¶ 27). SA Crump saw multiple

images and videos of CSAM on the site and that, consistent with the information


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from Internet Watch Foundation, a potential could send $89.99 of Bitcoin to the
bitcoin address listed on the website to access to the website’s whole CSAM
collection. (Id.).

2. Procedural History

   On December 28, 2022, SA Crump applied for a warrant to search 300
Anchorage Place and to seize certain property, information, and data therein. (Id.
at 1-22). SA Crump’s application presented the facts above and explained the steps
that one must follow to access websites on the darkweb and how those steps

conceal the IP addresses and physical locations of a darkweb websites’s host,
administrator, and users.     (Id. at 8-9, ¶¶ 17-18).      SA Crump also detailed
characteristics known to her that relate to individuals with a sexual interest in

children, including but not limited to collecting sexually explicit images of minors
and child erotica, storing such images in digital formats on a variety of devices
that can store or transport any type of computer media, and keeping said

collections close to them, such as in their homes or offices. (Id. at 6-8, ¶ 16). The
affidavit in support of SA Crump’s application also articulated facts regarding the
interplay    between    computers    and       child   pornography,   the   darkweb,
cryptocurrency wallets, and digital currency exchangers. (Id. at 3-6 & 9-14, ¶¶ 5-
15 & 19).
   On the same day, United States Magistrate Judge Justin S. Anand granted SA

Crump’s application and issued the requested search warrant. (Doc. 31-2). The
warrant authorized law enforcement officers to search 300 Anchorage Place,
including all structures and vehicles on the property or within its curtilage, for

computers and electronic devices and storage media that may be used or are use

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in connection with child pornography.2         (Id. at 3-4).   The warrant explicitly
authorized “[t]he search of such equipment” for particular items pertaining to the

possession, receipt, and distribution of child pornography. (Id. at 4-7).
   On January 5, 2023, HSI SA Crump and other agents executed the search
warrant and seized fifteen electronic devices from 300 Anchorage Place. During
the search, Defendant spoke with agents voluntarily and confessed to having
accessed the darkweb to download CSAM, to knowing that the CSAM depicted
minors engaged in sexually explicit conduct, and to storing the CSAM on a
removable flash drive. (Doc. 1 at 2). Subsequent forensic analyses revealed the
presence of more than 1,000 CSAM videos and images on more than a half-dozen
of the seized devices. (Doc. 33-3).

   On May 15, 2023, Defendant moved to suppress both the evidence seized from
his home and his statements to law enforcement. (Doc. 31). In a supporting brief,
Defendant argued that SA Crump’s affidavit did not set forth facts establishing a
nexus between the crimes alleged and the place to be searched;3 that the affidavit
failed to describe with particularity the things to be seized; and that the “good faith
exception” to the exclusionary rule articulated in United States v. Leon, 468 U.S. 897
(1984), does not apply. (Doc. 31-1).


   2  Specifically, the warrant was limited to computers, devices, and media “that
may be, or are used to: visually depict child pornography or child erotica; display
or access information pertaining to a sexual interest in child pornography; display
or access information pertaining to sexual activity with children; or distribute,
possess, or receive child pornography, child erotica, or information pertaining to
an interest in child pornography or child erotica.” (Doc. 31-2 at 4, ¶ 1).
   3  Defendant concedes that the affidavit established the requisite nexus
between himself and the place to be searched. (Doc. 31-1 at 9).


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3. Argument

   A. The Affidavit Established Probable Cause to Believe Evidence Related to
      Possession of CSAM Would Be Found at Defendant’s Home.

   The task of a magistrate judge issuing a search warrant “is simply to make a
practical, common-sense decision whether, given all the circumstances set forth in
the affidavit before him . . . , there is a fair probability that contraband or evidence
of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238
(1983). The magistrate judge’s determination of whether probable cause exists is
made in light of the totality of circumstances. Id.
   To establish probable cause, an affidavit should establish “a connection

between the defendant and the residence to be searched and a link between the
residence and any criminal activity.” United States v. Kapordelis, 569 F.3d 1291, 1310
(11th Cir. 2009) (quoting United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.

2002)).   A realistic and commonsense approach should be employed as to
encourage use of the warrant process. United States v. Miller, 24 F.3d 1357, 1361
(11th Cir. 1994).
   In determining whether a search warrant is supported by probable cause, a
reviewing court does not conduct a de novo determination of probable cause.
Massachusetts v. Upton, 466 U.S. 727, 728 (1984). Rejecting “a grudging or negative
attitude by reviewing courts towards warrants,” the Supreme Court has made
clear time and again that a “deferential standard of review” is appropriate. Id. at
733 (citing Gates, 462 U.S. at 236-37 & n.10 and United States v. Ventresca, 380 U.S.
102, 108 (1965)). In this circuit, reviewing courts owe “substantial deference to an
issuing magistrate’s probable cause determinations.” Miller, 24 F.3d at 1363.



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   Magistrate Judge Anand determined correctly that SA Crump’s affidavit set
forth probable cause to believe evidence of CSAM possession would be found at
Defendant’s home. The affidavit detailed how Defendant’s Coinbase account,
which was associated with Defendant’s home address, was used to send funds to
a darkweb site selling access to CSAM. A reasonable and “practical, common-
sense” inference to be drawn from those facts was that Defendant had visited the
darkweb site—which, as noted in the affidavit, contained multiple images and
videos of CSAM—and transferred funds from his Bitcoin wallet to obtain even

greater access to CSAM. And the facts that SA Crump provided regarding the
characteristics of individuals who have a sexual interest in children (which would
reasonably include people like Defendant who have paid approximately $90 to
access a child pornography website), supported the additional inferences that
Defendant would possess the materials he paid for and that evidence pertaining
to said possession was likely to be found at his home. See, e.g., United States v.

Frechette, 583 F.3d 374, 380 (6th Cir. 2009) (“[I]f someone spends $80 for something,
it is highly likely that the person will use it—whether it is a tie, a video game, or a
subscription to a pornographic web site.”), cited with approval, United States v.
Schwinn, 376 F. App’x 974 (11th Cir. 2010).4

   4   The affidavit explained that individuals with a sexual interest in children
tend to collect child pornography and keep such images in areas they control, such
as in their homes. (Doc. 31-3 at 6-7, ¶ 16). But that phenomenon need not have
been articulated explicitly for the magistrate judge to make the appropriate
inferences. This Court has acknowledged the “well known and recognized links
between pedophilic behavior”—such as buying a subscription to a CSAM treasure
trove on the darkweb—“and possession of child pornography by such individuals
in secure and safe locations, such as a residence.” United States v. Lebowitz, 647 F.
Supp. 2d 1336, 1354 (N.D. Ga. 2009), aff’d, 676 F.3d 1000 (11th Cir. 2012). Based on

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   The cases Defendant cites in his motion, including Schwinn, are not to the
contrary. In fact, in each of the Eleventh Circuit cases cited by Defendant, the court
of appeals held the challenged affidavit was sufficient. See United States v. Carroll,
886 F.3d 1347 (11th Cir. 2018); United States v. Lovvorn, 524 F. App’x 485 (11th Cir.
2013); Schwinn, 376 F. App’x 974; United States v. Vanbrackle, 397 F. App’x 557 (11th
Cir. 2010).   Defendant endeavors to use those unfavorable cases as “contra
example[s]” (Doc. 31-1 at 10), highlighting facts present there that are not present
here. And he laments that SA Crump’s affidavit did not proffer information about

a variety of things, including IP addresses and dates Defendant accessed the
darkweb site. (Id. at 9). But Defendant’s approach is backwards; a reviewing court
looks at what is in an affidavit, not what wasn’t.5 See W. Point-Pepperell, Inc. v.
Donovan, 689 F.2d 950, 959 (11th Cir. 1982) (“[J]udicial review of the sufficiency of
an affidavit for the issuance of a warrant must be strictly confined to the
information brought to the magistrate’s attention.”).




that knowledge, “the magistrate judge was authorized in drawing the reasonable
inference” that child pornography related materials would be found in
Defendant’s home. Id.
   5  As to Defendant’s specific gripes about the affidavit’s failure to connect
Defendant’s devices to any IP addresses used to access the darkweb site or
Coinbase, SA Crump’s affidavit explained how the Tor network facilitates
anonymous communication over the darkweb and conceals a user’s actual IP
address. (Doc. 31-3 at 8-9, ¶ 17). See also Vanbrackle, 397 F. App’x at 560 (“Although
IP address information could have definitively shown that a computer used at
Vanbrackle’s home received the images in question, Agent Blackwell was only
obligated to provide enough facts to show a fair probability that evidence of a
crime would be found at Vanbrackle’s residence.” (internal citation omitted)).


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   Moreover, omission or absence of additional information that “might have
been helpful in further confirming” a defendant’s involvement in a crime is
irrelevant where, as here, the affidavit sets forth an adequate factual basis for a
magistrate judge to find probable cause.          United States v. Bridges, 2008 WL
11431069, at *8 (N.D. Ga. July 1, 2008) (rejecting argument that affidavit was
deficient without more information about PayPal account used to purchase access
to CSAM website), report and recommendation adopted, 2008 WL 11431071 (N.D. Ga.
Sept. 2, 2008), aff’d, 347 F. App’x 459 (11th Cir. 2009); see also United States v.

Schwinn, 2008 WL 782520, at *4 (M.D. Fla. Mar. 21, 2008) (“The issue before the
magistrate judge in deciding whether to authorize a search warrant is not what
was not in the affidavit, but whether what was in the affidavit was sufficient.”),
aff’d, 376 F. App’x 974.
   Defendant’s motion seems to presume that direct evidence is necessary to link
the place to be searched with criminal activity. But the law is otherwise. Probable

cause can be, and often is, inferred by considering the type of crime, the nature of
the items sought, the suspect’s opportunity for concealment, and normal
inferences about where a criminal might hide the fruits of his crime. See Lebowitz,
647 F. Supp. 2d at 1354 (citation omitted). Based on the nature of the evidence and
type of offense, a court is entitled to draw reasonable inferences about where
evidence is likely to be kept. See United States v. Lockett, 674 F.2d 843, 846 (11th Cir.

1982) (“[T]he nexus between the objects to be seized and the premises searched
can be established from the particular circumstances involved and need not rest
on direct observation.”).      For example, this Court has often reached the

commonsense conclusion in bank robbery and stolen property cases that a suspect


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would stash “the loot” and other evidence at home. See, e.g., United States v. Pertha,
2017 WL 9471691, at *4 (N.D. Ga. May 9, 2017), report and recommendation adopted
sub nom. United States v. Partha, 2017 WL 2399579 (N.D. Ga. June 2, 2017); United
States v. Toumasian, 2011 WL 3798223, at *7 (N.D. Ga. July 19, 2011), report and
recommendation adopted, 2011 WL 3738980 (N.D. Ga. Aug. 22, 2011); United States v.
Gonzalez, 2010 WL 2721882, at *16 (N.D. Ga. May 25, 2010), report and
recommendation adopted, 2010 WL 2721540 (N.D. Ga. July 7, 2010).
   Consistent with the facts presented in ¶ 16 of SA Crump’s affidavit, many

courts have noted that, in child pornography possession cases, evidence is likely
to be found in the defendant’s home, an environment the defendant believes is
safe, secure, and private. Last year, in this district, Chief Magistrate Judge Russell
G. Vineyard identified several of those cases:

   [S]ee United States v. Riccardi, 405 F.3d 852, 860-61 (10th Cir. 2005) (citation
   omitted) (holding that the affidavit’s statement that “possessors of child
   pornography often obtain and retain images of child pornography on their
   computers,” along with other facts, was “more than enough to support”
   probable cause); United States v. Hay, 231 F.3d 630, 636 (9th Cir. 2000)
   (reasoning that the collector profile “form[ed] the basis upon which the
   magistrate judge could plausibly conclude that those files were still on the
   premises”); United States v. Lacy, 119 F.3d 742, 746 (9th Cir. 1997) (footnote
   and citation omitted) (finding the affidavit provided probable cause that
   items sought were in defendant’s apartment where affiant explained that
   “collectors and distributors of child pornography value their sexually
   explicit materials highly, ‘rarely if ever’ dispose of such material, and store
   it ‘for long periods’ in a secure place, typically in their homes”); United States
   v. Potts, 559 F. Supp. 2d 1162, 1172 (D. Kan. 2008) (footnote omitted) (finding
   sufficient nexus to residence and stating that “[c]rimes involving child
   pornography are often tied to a secure place, like a private residence”);
   United States v. Schwinn, No. 2:07-cr-119-FtM-29SPC, 2008 WL 782520, at *3


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   (M.D. Fla. Mar. 21, 2008) (finding that the totality of the circumstances
   allowed the magistrate judge to conclude that there was a fair probability
   that child pornography was in the defendant’s apartment as of the date of
   the issuance of the search warrant), aff’d, 376 F. App’x 974 (11th Cir. 2010)
   (per curiam) (unpublished); United States v. Johnson, Criminal No. 07-408
   (DWF/SRN), 2008 WL 465258, at *2 (D. Minn. Feb. 15, 2008) (concluding that
   probable cause was established for search of defendant’s computers and
   other media located in his residence where affidavit relayed the
   investigation in detail, including the investigation by other agents, that at
   least 19 images of child pornography had been downloaded to IP addresses
   registered to defendant); United States v. Cox, 190 F. Supp. 2d 330, 333
   (N.D.N.Y. 2002) (citations omitted) (noting the “observation that images of
   child pornography are likely to be hoarded by persons interested in [such]
   material [i]n the privacy of their homes is supported by common sense and
   the cases”).

United States v. Vincent, 2022 WL 1401463 (N.D. Ga. May 3, 2022), report and
recommendation adopted, 2022 WL 2452301 (N.D. Ga. July 6, 2022). Moreover,
given common knowledge that individuals keep and utilize computers in their
homes and the affidavit’s identification of 300 Anchorage Place as both
Defendant’s home and place of business, Magistrate Judge Anand could

reasonably infer in this case that evidence of Defendant’s internet-based
cybercrime would be found at 300 Anchorage Place.
   The three cases Defendant cites in which affidavits were found to be lacking in

probable cause—all of which were decided outside of the Eleventh Circuit—bear
scant resemblance to this case. Neither United States v. Zimmerman, 277 F.3d 426
(3d Cir. 2002), nor United States v. Doyle, 650 F.3d 460 (4th Cir. 2011), involved use

of the internet or a computer to obtain CSAM. In fact, Zimmerman did not involve
a search for CSAM at all, and both cases assessed the sufficiency of affidavits in
support of state warrants to search for evidence of state-law crimes. Defendant


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contends that United States v. Falso, 544 F.3d 110 (2d Cir. 2008) is “strikingly
similar” to this case, but it is anything but. In Falso, a sharply divided panel
determined that, even though an agent’s affidavit failed to establish probable
cause to search the home of a person who the agent speculated was “perhaps one
of several hundred possible subscribers” to a child pornography website, the
good-faith exception applied, and suppression was not appropriate. Id. at 120-29.
In that case, the FBI had forensically examined a free website that advertised a fee-
based membership in a second members-only website that contained CSAM, and

the examination of the free website revealed a list of email addresses including Mr.
Falso’s. 544 F.3d at 113-14. Unlike here, where SA Crump obtained, reviewed,
and parsed records from Coinbase showing that Defendant paid for CSAM on the
darkweb, the affidavit in Falso presented no evidence that the defendant ever
purchased access to the members-only child pornography site. In Falso, the
absence of evidence of a paid subscription was dispositive on question of probable

cause, but the court of appeals noted that the outcome would have been different
had the defendant’s membership in the paid website been presented to the
magistrate judge. Indeed, the panel cited opinions from the Third, Fifth, Sixth,
Ninth, and Tenth Circuits upholding the validity of search warrants and noting
that “[t]he common thread among these cases is the defendants’ membership in or
subscription to websites whose principal purpose was the collection and/or

sharing of child pornography.”           Id. at 120 (listing cases); see also id. at 121
(“[M]embership in or a subscription to a child-pornography website is an
important consideration in these types of cases because it supports the ultimate

inference . . . that illegal activity is afoot.”).


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   B. The Search Warrant Was Sufficiently Particularized.

   To satisfy the Fourth Amendment’s particularity requirement, a search warrant
must “particularly describe the place to be searched, and the persons or things to
be seized.” United States v. Betancourt, 734 F.2d 750, 754 (11th Cir. 1984) (citation
omitted).    However, “elaborate specificity is unnecessary.”      Id.   Rather, the
description needs to be sufficiently particular only to enable the searcher to
reasonably ascertain and identify the things authorized to be seized. Id. at 754–55.
“Particularity is the [Fourth Amendment] requirement that the warrant must
clearly state what is sought.” United States v. Maali, 346 F. Supp. 2d 1226, 1239
(M.D. Fla. 2004), aff'd sub nom. United States v. Khanani, 502 F.3d 1281 (11th Cir.

2007). The reviewing court determines de novo whether a warrant lacked the
particularity required by the Fourth Amendment. United States v. Bradley, 644 F.3d
1213, 1258-59 (11th Cir. 2011).
   In this case, the search warrant satisfied the Fourth Amendment’s particularity
requirement because Attachment B, which was several pages in length, supplied
enough detail to guide the executing agents’ judgment in selecting what electronic

items take and search.6


   6  Contrary to Defendant’s claim that the warrant only authorized agents to
search “for” particular devices and that their searches “of” those devices were
“warrantless,” the affidavit and Attachment B thereto make clear that searches of
the devices themselves were authorized. First, in the closing paragraph of the
affidavit, SA Crump requested that the Court “issue a warrant . . . authorizing the
seizure and search of the items described in Attachment B.” (Doc. 31-3 at 17, ¶ 32
(emphasis added)). And while paragraph 1 of Attachment B described the sort of
devices to be seized, paragraph 2 articulated limits on “[t]he search of such
equipment” (emphasis added). Moreover, the Federal Rules of Criminal
Procedure state that, by default, unless otherwise specified, a warrant authorizing

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   Contrary to Defendant’s contention that the warrant permitted a general search
of his residence, the search warrant was limited to only electronic devices and
storage media that could be used to distribute, possess, or depict child
pornography or erotica. (Doc. 31-3 at 19, ¶ 1). And, with additional references to
“child pornography,” “the sexual exploitation of children,” and “visual depictions
of minors engaged in sexually explicit conduct,” the warrant further limited
agents’ search of those devices for specific categories of data. (Id. at 19-21, ¶ 2).

   Warrants less specific than the one in this case have survived scrutiny by other
judges in this Court. For example, in United States v. McDaniel, Judge Murphy
rejected a defendant’s argument that a warrant authorizing the seizure of all
“computer(s) and computer systems and files and contents therein” and
“computer storage media/medium including hard drives, floppy discs, hard
discs, compact discs (C.D.’s), zip discs, and disc drives” that might contain

evidence of a violation of Georgia’s electronic child pornography statute was
insufficiently particularized. 2009 WL 10674310, at *3-4 (N.D. Ga. May 18, 2009).
Judge Murphy law enforcement officers need not give an exact description of the
materials to be seized provided that the description “is as specific as the
circumstances and the nature of the activity under investigation permit.” Id. at *8
(quoting United States v. Santarelli, 778 F.2d 609, 614 (11th Cir. 1985). Relevant here,

Judge Murphy adopted the magistrate judge’s determination that “the ubiquitous
nature of personal computer equipment and digital storage media precluded [an

the seizure of electronic storage media or electronically stored information also
authorizes a later review of the media or information. Fed. R. Crim. P. 41(e)(2)(B).


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affiant] from giving a more exact description of the items to be seized.” Id. Also,
relevant here, Judge Murphy pointed out that the defendant’s attack on the
warrant’s particularity “ignores that the warrant specifically connects the items to
be seized with the criminal conduct of ‘computer pornography and child
exploitation.” Id. at *9. As noted above, Paragraph 1 of Attachment B contained
similar limiting language that precluded a free-ranging search.7
   As discussed below, even if the warrant was overbroad, which was it was not,
the good faith exception would still apply. See United States v. Travers, 233 F.3d

1327, 1330 (11th Cir. 2000) (“The good faith exception may be applied to a search
conducted pursuant to an overly broad warrant.”).

   C. The Leon Good Faith Exception Applies.

   If the Court was to find the search warrant invalid, either for lack of probable
cause, lack of particularity, or both, suppression would not be appropriate because
HSI agents acted in objectively reasonable reliance on the search warrant and the

search warrant affidavit established at least an indicia of probable cause as to the
nexus between Defendant, his residence, and his criminal activity.




   7   Cases similar to McDonald abound in this district. See, e.g., United States v.
Carroll, 2015 WL 13741254 (N.D. Ga. Nov. 3, 2015), report and recommendation
adopted, 2015 WL 8491011 (N.D. Ga. Dec. 10, 2015), aff’d, 886 F.3d 1347 (11th Cir.
2018); United States v. Graham, 2014 WL 2922388 (N.D. Ga. June 27, 2014); United
States v. Wilson, 2012 WL 7992597 (N.D. Ga. Nov. 28, 2012), report and
recommendation adopted, 2013 WL 1800018 (N.D. Ga. Apr. 26, 2013). By contrast,
Defendant has not cited a single case where a court in the Eleventh Circuit has
found an affidavit comparable to SA Crump’s to be overbroad.


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      1. Agents Reasonably Relied on the Search Warrant.

   The Supreme Court has emphasized that suppression of evidence “has always
been [its] last resort, not [its] first impulse.” Hudson v. Michigan, 547 U.S. 586, 591
(2006). In United States v. Leon, 468 U.S. 897, 925 (1984), the Supreme Court held
that evidence obtained by officers acting in objectively reasonable reliance – i.e.,
“good faith” – on a search warrant should not be subject to the exclusionary rule.
See also United States v. Morales, 987 F.3d 966, 969 (11th Cir. 2021) (“The
exclusionary rule exists to deter unreasonable searches, but the police here did
exactly what the Fourth Amendment required of them: they obtained a warrant in
good faith from a neutral magistrate and reasonably relied on it.”).

   The good faith exception applies where the officers “obtained and relied on a
warrant from a neutral magistrate and had no reason to think that probable cause
was absent despite the magistrate’s authorization.” Morales, 987 F.3d at 974.
Further, when a warrant may have violated a constitutional requirement, the Leon
exception applies to areas where it was a “close enough question” that the
warrants were not “so facially deficient” that the agents who executed it could not

have reasonably believed them to be valid. United States v. Blake, 868 F.3d 960, 975
(11th Cir. 2017).
   Even if the search warrant was invalid, the Leon good faith exception applies

because the HSI agents reasonably relied on the warrant issued by a neutral,
detached magistrate judge. See, e.g., Morales, 987 F.3d at 974. Here, the search
warrant showed a nexus between the defendant and the residence to be searched

and the residence and the alleged criminal activity. Further, the search warrant
limited the seizure to evidence related to the specific crime under investigation.


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At a minimum, the search warrant presented a “close enough question” as to
probable cause and particularity that the agents who executed the warrant could
reasonably believe them to be valid. See, e.g., Blake, 868 F.3d at 975.

      2. None of the Limited Exceptions to Leon Apply.

   Leon applies in all except in four limited circumstances. 468 U.S. at 923-24
(listing exceptions). Defendant argues only one here: that the affidavit supporting
the warrant was “so lacking indicia of probable cause as to render official belief in
its existence entirely unreasonable.” (Doc. 31-1 at 16). Yet Defendant does not cite

any case in which the Eleventh Circuit found a warrant to be so lacking. Instead,
Defendant presents Vanbrackle, Falso, and Schwinn, where searches were upheld
and motions to suppress were denied, as counterexamples. (Doc. 31-1 at 16-17).

   In determining whether an affidavit lacks indicia of probable cause, a
reviewing court looks only at the face of the affidavit. United States v. Robinson,
336 F.3d 1293, 1296 (11th Cir. 2003). As noted above, close questions are decided

in the executing officers’ favor. Blake, 868 F.3d at 975. Ultimately, the Court’s task
to determine, based on the totality of the circumstances, whether a reasonably
well-trained officer would have relied upon the warrant, not whether the warrant
was sufficient. United States v. Taxacher, 902 F.2d 867, 872 (11th Cir. 1990).
   As discussed above, the warrant was supported by an affidavit that outlined a
nexus between the darkweb site, Defendant’s Coinbase account, and Defendant’s

home. The affidavit detailed when and how Defendant purchased a subscription
to the darkweb site and it described the site’s contents, the sophisticated steps
required to navigate to it on the darkweb, and how those steps mask IP addresses.

In short, the 32-paragraph affidavit was not so bare-bones and conclusory that no

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officer could have reasonably relied on it. Accordingly, despite the deficiencies
Defendant has asserted, the affidavit was not so lacking in indicia of probable
cause that reasonable reliance was impossible.

4. Conclusion

   For the foregoing reasons, the Court should deny Defendant’s Motion to
Suppress.

                                        Respectfully submitted,

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                                            United States Attorney

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July 5, 2023


                                         /s/ T HEODORE S. H ERTZBERG

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                                         Assistant United States Attorney




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